                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 NETCHOICE,
                                            Plaintiﬀ,
 v.
                                                        Case No. 3:24-cv-01191
 JONATHAN SKRMETTI, in his oﬀicial ca-
 pacity as the Tennessee Attorney General &
 Reporter,
                                      Defendant.

                     DEFENDANT’S RESPONSE TO PLAINTIFF’S
                      NOTICE OF SUPPLEMENTAL AUTHORITY
        NetChoice’s notice of supplemental authority is about an unrelated data-privacy law and

shows the weakness of Netchoice’s pending preliminary-injunction motion. See Notice of Supp. Auth.

(Doc. 63) (discussing ECF 143, NetChoice, LLC v. Bonta, No. 5:22-cv-08861 (N.D. Cal. Mar. 13, 2025)).

        The Bonta opinion, Doc. 63-1, concerns a California data-privacy law, not a social-media law.

California has a diﬀerent law about minors and social media, as Netchoice knows. See Notice of Supp.

Auth. (Doc.56) (concerning that law); Resp. (Doc. 57). The data-privacy law that Netchoice now in-

vokes applies not to social media companies, but to large “businesses that provide an online service,

product, or feature likely to be accessed by children.” Bonta Op. at 3 (citing Cal. Civ. Code

§§1798.99.31(a), (b).). It imposes on those businesses not an age-veriﬁcation or parental consent re-

quirement, but an intricate and ongoing set of mandates and prohibitions concerning how they man-

age children’s data. Bonta Op. at 3-6. The law mandates a “data protection impact assessment” report,

a risk-mitigation plan, privacy-setting requirements, privacy-disclosure requirements, estimation and

adjustment of services by age, and many other things. Id. at 4-5 (citing Cal. Civ. Code

§§1798.99.31(a)(1)-(10)). It prohibits at least eight diﬀerent practices relating to children’s data, includ-

ing using children’s data in a way “detrimental” to the mental or physical health of the child, proﬁling

or using the data of a child except under limited conditions, estimating a user’s age for certain




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purposes, and many other things. Bonta Op. at 5-6 (citing Cal. Civ. Code §§1798.99.31(b)(1)-(8)). Ten-

nessee’s law regulates the commercial act of contracting with minors and imposes no similar set of

mandates or prohibitions. TRO Opp. (Doc. 54) at 5-7; PI Opp. (Doc. 26) at 3-4, 6-14; see also Nat’l

Riﬂe Ass’n v. Bondi, 2025 WL 815734, at *6 (11th Cir. Mar. 14) (explaining broad power of states to

regulate the commercial act of contracting with minors).

        Netchoice’s attempted comparisons between the two laws do not hold up. See Notice of Supp.

Auth. at 1-2. Netchoice ﬁrst invokes the California data-privacy law’s “gateway coverage provision.”

Id. But the Bonta court thought that California’s coverage provision was content-based because by its

terms, it applies only to businesses “likely to be accessed by children.” Bonta Op. at 14 (quoting Cal. Civ.

Code §§1798.99.31(a), (b)) (emphasis added). The problem, as the court saw it, was the “distinctio[n]

based on the speaker’s message, namely, whether it is content likely to be accessed by children.” Bonta

Op. at 15. Tennessee’s law does not make that distinction; it applies to social media platforms regard-

less of their message. Tenn. Code Ann. §47-18-5702. And it is content-neutral for the reasons the

Supreme Court recently explained in TikTok (which Bonta never discussed). See TikTok Inc. v. Garland,

145 S. Ct. 57, 67-69 (2025); see also TRO Opp. at 5-6.

        Netchoice next invokes the California law’s “age-estimation requirement.” Notice of Supp.

Auth. at 2. But the Bonta court thought California’s age-estimation provision was unconstitutional

because it “does not merely require [a] covered business to estimate age,” like Tennessee’s requires

platforms to verify age. Bonta Op. at 35 (emphasis added). Instead, its concern was that California

requires businesses to aﬀirmatively change and ﬁlter their content based on the age of users. Id. at 35-

38 (citing Cal. Civil Code §1798.99.31(a)(5)). And if the businesses don’t accurately estimate user age,

they must provide all users with child-level content. Id. at 37. Netchoice says that estimating users’ age

can invade their privacy, see Notice of Supp. Auth. at 2, but the passage that it’s referencing appears

to concern strict scrutiny, not an independent constitutional violation. Bonta Op. at 37-38.



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       Finally, California’s data-privacy law never went into eﬀect, so the equities in Bonta went the

other way. The law was enjoined before the eﬀective date. Bonta Op. at 1-2. After part of that injunc-

tion was vacated, the State “agreed to defer enforcement of the non-enjoined portions” until after the

district court ruled. Bonta Op. at 2. The three equitable factors—irreparable harm, equities, and public

interest—were thus “not contested.” Id. at 54-55. Here, Tennessee’s law is in eﬀect. See TRO Denial

(Doc. 58) at 9. As a result, Netchoice cannot show irreparable harm and is not seeking to preserve the

status quo, so it should lose on the equities. See TRO Opp. (Doc. 54) at 9-14. This case would be the

only one in which NetChoice got a preliminary injunction after the challenged law went into eﬀect.

       This Court should deny NetChoice’s preliminary injunction motion.

 Date: March 24, 2025                             Respectfully submitted,

 JONATHAN SKRMETTI
 Attorney General and Reporter

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                               CERTIFICATE OF SERVICE
       On March 24, 2025, I e-ﬁled this document with the Court, which automatically emailed eve-

ryone requiring notice.

                                                               /s/ Cameron T. Norris




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